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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                           :
 WILLIAM C. TOTH JR., et al.,              :
                                           :
              Plaintiffs,
                                           :
       v.                                  :
                                           :
 LEIGH M. CHAPMAN, et al.,                 :   No. 1:22-cv-00208-JPW-KAJ-PS
                                           :
              Defendants.                  :   Three Judge Panel Convened
                                           :   Pursuant to 28 U.S.C. § 2284(a)
       v.
                                           :
 CAROL ANN CARTER, et al.,                 :
                                           :
              Intervenor-Defendants.       :


CARTER INTERVENORS’ NOTICE OF SUPPLEMENTAL AUTHORITY

      The Carter Intervenors respectfuly submit this Notice to inform the Court of

the Pennsylvania Supreme Court’s majority opinion in Carter v. Chapman, No. 7

MM 2022 (Pa. Mar. 9, 2022) (attached as Exhibit A), issued today. This opinion is

relevant to the Court’s consideration of the Carter Intervenors’ Motion to Dismiss

Plaintiffs’ Second Amended Complaint and Plaintiffs’ Motion for Preliminary

Injunction, specifically with respect to Plaintiffs’ claims that (1) the Carter Plan is

unconstitutionally malapportioned and (2) the Pennsylvania Supreme Court did not

follow Pennsylvania’s “policies and preferences” in choosing a congressional map.

See, e.g., ECF No. 67 at 21.
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Dated: March 9, 2022                    Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE
        I hereby certify that the foregoing Opposition to Plaintiffs’ Preliminary

Injunction contains 100 words, based on the word count of the word processing

system used to prepare this brief, and thereby complies with the Local Civil Rule

7.36.

Dated: March 9, 2022                         /s/ Elizabeth V. Wingfield




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